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 CLEARY GIACOBBE ALFIERI JACOBS, LLC
 955 Route 34, Suite 200
 Matawan, New Jersey 07747
 Phone: (732) 583-7474
 Fax: (732) 566-7687
 Attorneys for Defendant, Kenneth Brown, Jr. in his official capacity as Chief of
 Wall Township Police Department

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  ASSOCIATION OF NEW JERSEY Case No.: 3:18-cv-10507 (PGS) (JBD)
  RIFLE & PISTOL CLUBS, INC.,
  BLAKE   ELLMAN,    and    MARC        Civil Action
  WEINBERG,
                Plaintiffs,      CERTIFICATE OF COUNSEL
  v.
  MATTHEW PLATKIN, in his official
  capacity as Attorney General of New
  Jersey, PATRICK J. CALLAHAN, in his
  official capacity as Superintendent of the
  New Jersey Division of State Police,
  RYAN MCNAMEE, in his official
  capacity as Chief of Police of the Chester
  Police     Department,    and     JOSEPH
  MADDEN, in his official capacity as
  Chief of Police of Park Ridge Police
  Department,

                        Defendants.

  MARK    CHEESEMAN,   TIMOTHY Case No.: 1:22-cv-4360 (RMB) (JBD)
  CONNELLY, and FIREARMS POLICY
  COALITION, INC.
                        Plaintiffs,
  v.
  MATTHEW J. PLATKIN, in his official
  capacity as Acting Attorney General of
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   New Jersey, PATRICK J. CALLAHAN,
   CHRISTINE A. HOFFMAN, BRADLEY
   D. BILLHIMER, in his official capacity
   as Ocean County Prosecutors,
                             Defendants.

   BLAKE ELLMAN, THOMAS R. Case No.: 3:22-cv-4397 (PGS)(JBD)
   ROGERS, ASSOCIATION OF NEW
   JERSEY RIFLE & PISTOL CLUBS,
   INC.
                             Plaintiffs,
   v.

   MATTHEW PLATKIN, in his official
   capacity as Attorney General of New
   Jersey, PATRICK CALLAHAN, in his
   official capacity as Superintendent of the
   New Jersey Division of State Police, LT.
   RYAN MCNAMEE, in his official
   capacity as Officer in Charge of the
   Chester     Police    Department,     and
   KENNETH BROWN, JR., in his official
   capacity as Chief of the Wall Township
   Police Department,
                             Defendants.

          MITCHELL B. JACOBS, of full age, hereby certifies and says:
          1.       I am an Attorney-at-Law of the State of New Jersey duly licensed to

 practice in the United States District Court for the District of New Jersey, and a

 Partner of the law firm Cleary Giacobbe Alfieri Jacobs, LLC, attorneys for

 Defendant, Kenneth Brown, Jr. in his official capacity as Chief of Wall Township

 Police Department (hereinafter “Defendant”) in the above-captioned matter. As



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 such, I am personally familiar with the facts stated herein.              I make this

 Certification in support of Defendant’s Motion for Summary Judgment.

          2.       Attached hereto as “Exhibit A” is a true and accurate copy of

 Plaintiffs’ Complaint.

          3.       Attached hereto as “Exhibit B” is a true and accurate copy of the

 Township of Wall Resolution No. 22-0910 Authorization to Appoint an Acting

 Chief of Police.

          4.       Attached hereto as “Exhibit C” is a true and accurate copy of Mitchell

 Jacobs’ email to Daniel L. Schmutter, counsel for Plaintiffs Blake Ellman, Thomas

 R. Rogers, Association of New Jersey Rifle & Pistol Clubs, Inc, dated November

 11, 2022.

          5.       Attached hereto as “Exhibit D” is a true and accurate copy of an email

 chain between Mitchell B. Jacobs and Daniel L. Schmutter, during March of 2023.

          6.       Attached hereto as “Exhibit E” is a true and accurate copy of a follow

 up email from Mitchell B. Jacobs to Daniel L. Schmutter, dated May 18, 2023.

          I hereby certify that the foregoing statements made by me are true. I am

 aware that if any of the foregoing statements made by me are willfully false, I am

 subject to punishment.

                                                   By: /s/ Mitchell B. Jacobs
                                                       MITCHELL B. JACOBS
 Dated: November 2, 2023


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